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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff(s),                CASE NUMBER: 05-80025
                                                 HONORABLE VICTORIA A. ROBERTS
v.

D-1 TIMOTHY DENNIS O’REILLY,

                Defendant(s).
_________________________________/

                                        ORDER

      This matter is before the Court on the Government’s “Motion to Test Defendant

for Purposes of Rebutting his Rule 12.2 Mental Health Evidence and for Expedited

Consideration.” (Doc. #509). The Government seeks permission to conduct an

Electroencephalogram (EEG) on Timothy O’Reilly and any related examinations

deemed necessary by a neurologist to properly assess whether O’Reilly has any mental

or developmental disability or impairment.

      On February 19, 2010, the Court entered an Order that says “Government

experts can only subject O’Reilly to examination or testing that was performed by

defense experts.”

      O’Reilly’s 12.2 Notice dated March 8, 2010 says: “The defendant will call experts

who performed neurological examinations (EEG) of the defendant when he was

approximately 8 and 9 years old. They did no clinical interviews.”

      O’Reilly’s Supplemental 12.2 Notice dated May 10, 2010 says: “No defense

witness providing mental health evidence has interviewed Mr. O’Reilly in preparation for


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his or her testimony.”

        Finally, O’Reilly’s Belated Compliance with the Court’s Order of May 10, 2010

says:

        The defendant will call a neurologist who reviewed EEG charts of Mr.
        O’Reilly. The EEGs were performed by the staff of Methodist Hospital of
        Southern California on June 17 and October 6, 1981. The defendant was
        8 or 9 at the time of these examinations. This neurologist did not meet
        with Mr. O’Reilly nor did he or anyone else perform any other neurological
        examinations of Mr. O’Reilly.

(Emphasis in original).

        Because the defense experts did not subject O’Reilly to any examination or

testing, the Government’s motion is DENIED.

        IT IS ORDERED.


                                                 S/Victoria A. Roberts
                                                 Victoria A. Roberts
                                                 United States District Judge

Dated: June 3, 2010

 The undersigned certifies that a copy of this
 document was served on the attorneys of
 record by electronic means or U.S. Mail on
 June 3, 2010.

 s/Carol A. Pinegar
 Deputy Clerk




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